Case 0:21-cv-60125-RNS Document 186-3 Entered on FLSD Docket 06/26/2023 Page 1 of 17




                          Exhibit C to Declaration
                              of Tracy Huang
    Case 0:21-cv-60125-RNS Document 186-3 Entered on FLSD Docket 06/26/2023 Page 2 of 17



Circuitronix, LLC
3131 SW 42nd Street                                                 Entry number                       Date         Supplier
Fort Lauderdale, FL 33312
                                                                    201846-MR6031US                    11/15/2018   JIANG001
Phone:      7863644458
                                                                    Reference
Fax:        3053779008
                                                                    X57




Supplier:                                                                 Ship To CTX Address:

 Jiangmen Benlida Printed Circuit Company Limited                          Circuitronix, LLC
 No. 76 Long Xi Road High-tech Industrial Park                             C/O DHL Global Forwarding (Hong Kong) Limited
 Jiangmen, Guangdong, China                                                8/F Block 1, Goodman Tuen Mun Distribution Centre,
  Hong Kong                                                                3A Hung Cheung Road, Tuen Mun, NT
                                                                            Hong Kong




                                                 CoC         PPAP           Receipt date       Ordered          Net price            Tax
 Supplier PN
                                                                                               quantity                           excluded
                                                                                                                                   amount
 3E11V0110 REV.AB                                 No         None           12/15/2018               2,000 PC       0.42900            858.00
 3E35701G0 Rev AP                                 No         None           12/15/2018           10,000 PC          1.53500         15,350.00
 E05358806 rev AG                                 No         None           12/15/2018               7,000 PC       1.96500         13,755.00
 E09440604 Rev AF                                 No         None           12/15/2018               2,500 PC       1.99000          4,975.00




 Shipment mode
                                                                           Tax excluded line total                             34,938.00 USD
 Payment term               60 Day After Monthly Statement                 TOTAL TAX                                                0.00 USD
                                                                           TOTAL TAX INC                                       34,938.00 USD
 Incoterm                   Free on board

 Incoterm Town              HKG




                                                                                                                               Page 1 of 1
    Case 0:21-cv-60125-RNS Document 186-3 Entered on FLSD Docket 06/26/2023 Page 3 of 17



Circuitronix, LLC                                                                   Entry number                          Date             Supplier
3131 SW 42nd Street                                                                 201846-MR6031US                       11/15/2018       JIANG001
Fort Lauderdale, FL 33312
                                                                                   Reference
Phone:      7863644458
                                                                                   X57
Fax:        3053779008



Supplier:                                                                                Ship To CTX Address:

 Jiangmen Benlida Printed Circuit Company Limited                                         Circuitronix, LLC
 No. 76 Long Xi Road High-tech Industrial Park                                            C/O DHL Global Forwarding (Hong Kong) Limited
 Jiangmen, Guangdong, China                                                               8/F Block 1, Goodman Tuen Mun Distribution Centre,
  Hong Kong                                                                               3A Hung Cheung Road, Tuen Mun, NT
                                                                                           Hong Kong




 Supplier PN

 3E11V0110 REV.AB
 P/N: 3E11V0110 REV.AB (File: 3E11V0110-AB_gerbers.zip ) [05-10-2012]
 IPC-4101/121 as modified by LVP047, high grade FR-4 meeting UL 94V-0 or better, Tg rating of 140 deg or better; 0.066+/-10% Board THK; 2/1/1/2
 OZ (Min finish); 4L; 5.236X9.685(8); 20X24(8); 0.010/0.008 (Line/space); 0.013 (Hole); SMOBC (LPI, Green, Flat Matte, IPC-SM-840 class H);
 2SS(White); Imm Silver per IPC-4553
 Notes:
 1> Rout Length:76/Panel; Hole:1645/panel; Vcut remain 0.025+/-0.003, 4 /panel;
 2> Stack-up per IPC-4121/2, with core layer to be HFR-4 28 and prepreg layers to be 2X7628 IPC-4412A IPC-4101/121 compliant prepreg with a
 42% resin content each(7628X2 // 0.028core(7628X4) // 7628X2);
 3> Annular ring of conductive material on each PTH to be min of 0.001 with no break-out;
 4> Bow and twist: Class B (0.75% max) per LVP046;
 5> PCB shall meet IPC 6011/6012/IPC-A-600 Class 3 per LVP046;
 6> Standard PCB: Copper THK after processing according to IPC 6012 Class 3; track width/spacing tolerance of +/-20%; centerline hole to centerline
 pad of +/-0.003; offset between copper layers of +/-0.004; offset between copper and mask of +/-0.004 per LVP046;
 7> Solder mask THK (for H to 2 oz base copper) - THK on track of 10 to 40 um, min THK on track corner of 6 um& min THK on bare laminate of 10
 um (per spec LVP046 rev 05I);
 8> Dimensional tolerance: +/-0.10 mm (+/-0.004") for dimensions 200 mm per LVP046;
 9> NPTH dia tolerance: +/-0.05 mm (0.002"); PTH dia tolerance: +/-0.075 mm (0.003"); press-fit hole dia tolerance: +/-0.05 mm (0.002"); hole
 location tolerance: +/-0.075 mm (0.003") per LVP046;
 10> PTH copper plating: 25 to 50 um (0.001 to 0.002") per LVP046;
 11> 100% AOI for inner and outer layers is required per LVP046;
 12> Solder mask repair allowed to max of 5 defects/cm square, but it is NOT allowed to repair open tracks of copper per LVP046;
 13> Defective boards on the panel (array): NOT allowed per LVP046;
 14> Ionic contamination: 15> High Grade FR-4: Td min of 325degc, UL 94V-0 rating, other requirements per IPC 4101/121 per LVP046;
 16> Approved solder mask types: Coates Imagecure XV 501, Vantico (Ciba) Probimer 65C SM/77 SM, Onstatic R-500 M3G/HD5 & Tamura Finedel
 DSR-2200TT 19G(M), Eternal 780H-MG56 - all should be green/satiny-dull (per spec LVP046 rev 05I);
 17> Scoring: angle of 30 +/- 15deg, remaining web THK: 0.025+/-0.003, top to bottom score offset tolerance: +/-0.003;
 18> CAF resistance certification (IPC-TM-650 2.6.25) for (Standard FR4 or High Grade FR4 or FR406 4101/26) (per spec LVP047 level 06I);
 19> Supplier is not authorized to begin production or ship material prior to obtaining approval per the requirements of PPAP Manual. All PPAP sample
 submissions are to be Level 3 unless otherwise specified (per Global Supplier Quality Requirements Manual);
 20> All changes to product, process and production location require advance written approval. PPAP approval is required. (per Global Supplier Quality
 Requirements Manual);
 21> Supplier packaging, either expendable or returnable, must comply with the standards described in Supplier Packaging Requirements & Guidelines;
 22> A completed Supplier Packaging Spec, File: 17.c Packaging specification.doc for shall be submitted for customer approval during PPAP. (per
 Supplier Packaging Requirements & Guidelines);
 23> ET mark will follow a line mark at the edge of the board. No stickers or stamp are allowed inside the circuit (per customer requirement);
 ADDITIONAL NOTES:
 1> Suggest IT158 material

 ** Please use CTX UL logo.




                                                                                                                                                         Page 1 of 6
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Circuitronix, LLC                                                                       Entry number                           Date              Supplier
3131 SW 42nd Street                                                                     201846-MR6031US                        11/15/2018        JIANG001
Fort Lauderdale, FL 33312
                                                                                      Reference
Phone:      7863644458
                                                                                      X57
Fax:        3053779008



Supplier:                                                                                    Ship To CTX Address:

 Jiangmen Benlida Printed Circuit Company Limited                                             Circuitronix, LLC
 No. 76 Long Xi Road High-tech Industrial Park                                                C/O DHL Global Forwarding (Hong Kong) Limited
 Jiangmen, Guangdong, China                                                                   8/F Block 1, Goodman Tuen Mun Distribution Centre,
  Hong Kong                                                                                   3A Hung Cheung Road, Tuen Mun, NT
                                                                                               Hong Kong




 Supplier PN

 3E35701G0 Rev AP
 P/N: 3E35701G0 Rev AP / 3E35701G0 (per gerber (File: 3E35701G0-AP_gerbers.zip ) [01-21-2015]
 High Grade FR4 per IPC-4101/129, UL 94V-0 or better, Tg170°C or better; 0.066 +/- 10% Board THK; 3/3/3/3 OZ (Min Finish); 4L; 8.882X5.752(3);
 20X24(8); 0.010/0.008 (Line/space); 0.013 (Hole); SMOBC (LPI, per IPC-SM-840 Class H, Flat Matte, Green); 1SS (White); Imm Silver per IPC-4553
 (Either thick or thin deposit)
 Notes:
 1> Rout Length:35/Panel; Hole:2105/panel; Vcut 4 /panel;
 2> IPC-6011 and IPC-6012 Class 3 as modified by spec LVP046;
 3> Stack-up: 2116(RC55)X3 PP //Core 21mil (excluding 3/3oz)// 2116(RC55)X3 PP (per email reply);
 4> Core per IPC-4121/2 HFR-4 28. Pregreg per IPC-4412A with 57% resin content each;
 5> Min annular ring: 0.001 with no break-out;
 6> Score web thickness: 0.018 +/-0.003, score angle 30 +/-15 deg, score offset tolerance: 0 +/-0.003;
 7> PCB shall meet IPC-A-600 Class 3. (per spec LVP046 rev 05I);
 8> Standard PCB: Copper THK after processing according to IPC 6012 Class 3; track width/spacing tolerance of +/-20%; centerline hole to centerline
 pad of +/-0.003; offset between copper layers of +/-0.004; offset between copper and mask of +/-0.004. (per spec LVP046 rev 05I);
 9> (Per previous) Solder mask: green; meet UL 94V-0. (per spec LVP046 rev 05I);
 10> Solder mask THK (for H to 2 oz base copper) - THK on track of 10 to 40 µm, min THK on track corner of 6 µm & min THK on bare laminate of 10
 µm. (per spec LVP046 rev 05I);
 11> Circuit bow and twist per IPC-6012 section 3.4.3: Keeping the core and prepreg in the same grain direction is crucial to ensure the flatness of
 multilayer boards. Board fabricator shall build multilayer boards with the grain direction for all cores and prepregs used in the same direction. (per spec
 LVP046 rev 05I);
 12> Bow & twist (Class B) : 0.75% max (per spec LVP046 rev 05I);
 13> Dimensional tolerance: +/-0.10 mm (+/-0.004") for dimensions 200 mm. (per spec LVP046 rev 05I);
 14> NPTH dia tolerance: +/-0.05 mm (0.002"); PTH dia tolerance: +/-0.075 mm (0.003"); press-fit hole (IF ANY) dia tolerance: +/-0.05 mm (0.002");
 hole location tolerance: +/-0.075 mm (0.003"). (per spec LVP046 rev 05I);
 15> PTH copper plating: 25 to 50 µm (0.001 to 0.002") (per spec LVP046 rev 05I);
 16> 100% AOI for inner and outer layers is required. (per spec LVP046 rev 05I);
 17> Solder mask repair allowed to max of 5 defects/cm square, but it is NOT allowed to repair open tracks of copper. (per spec LVP046 rev 05I);
 18> Defective boards on the panel (array): NOT allowed (per spec LVP046 rev 05I);
 19> Ionic contamination: 20> CAF resistance certification (IPC-TM-650 2.6.25) for (Standard FR4 or High Grade FR4 or FR406 4101/26) (per spec
 LVP047 level 06I);
 21> Supplier is not authorized to begin production or ship material prior to obtaining approval per the requirements of PPAP Manual. All PPAP sample
 submissions are to be Level 3 unless otherwise specified (per Global Supplier Quality Requirements Manual);
 22> All changes to product, process and production location require advance written approval. PPAP approval is required. (per Global Supplier Quality
 Requirements Manual);
 23> Supplier packaging, either expendable or returnable, must comply with the standards described in Supplier Packaging Requirements & Guidelines;
 24> A completed Supplier Packaging SUPPLIER PACKAGING DATA FORM (Form 2100 ), File: 6FUX25-000_E01526706.xls for shall be submitted
 for customer approval during PPAP. (per Supplier Packaging Requirements & Guidelines);
 25> PCB should have cavity number in each production panel (per customer requirement);
 26> Cavity number should be on top of the date code or near to the date code or in the UL logo (per customer requirement);
 27> ET mark will follow a line mark at the edge of the board. No stickers or stamp are allowed inside the circuit (per customer requirement)


 ** Please use CTX UL logo




                                                                                                                                                               Page 2 of 6
    Case 0:21-cv-60125-RNS Document 186-3 Entered on FLSD Docket 06/26/2023 Page 5 of 17



Circuitronix, LLC                                                                     Entry number                           Date             Supplier
3131 SW 42nd Street                                                                   201846-MR6031US                        11/15/2018       JIANG001
Fort Lauderdale, FL 33312
                                                                                     Reference
Phone:      7863644458
                                                                                     X57
Fax:        3053779008



Supplier:                                                                                  Ship To CTX Address:

 Jiangmen Benlida Printed Circuit Company Limited                                           Circuitronix, LLC
 No. 76 Long Xi Road High-tech Industrial Park                                              C/O DHL Global Forwarding (Hong Kong) Limited
 Jiangmen, Guangdong, China                                                                 8/F Block 1, Goodman Tuen Mun Distribution Centre,
  Hong Kong                                                                                 3A Hung Cheung Road, Tuen Mun, NT
                                                                                             Hong Kong




 Supplier PN

 E05358806 rev AG
 P/N: E05358806 Rev AG (File: E05358806_FAB-AG.pdf, E05358806_TSP-AG.zip, E05358806AG_pcbGerbers(2).zip ) [06-06-2017]
 Hi-Grade FR4 per IPC-4101/124, UL94V-0 or better, Tg 150deg C or better; 1.65mm +/-10% (per EQ reply) Board THK; 2/2/2/2 OZ (Min Finished);
 4L; 9.605 in X5.413 in(2); 20in X24in(8); OL: 0.010in/0.010in; IL: 0.025in/0.020in (Line/space); 0.013in (Hole); SMOBC(LPI, per IPC-SM-840 Class H,
 Flat Matte, Green); 2SS (White); Imm Silver (per IPC-4553)
 Notes:
 1> Rout Length: 36/Panel; Hole: 2622/panel; Vcut 0/panel;
 2> Per IPC-6011 and IPC-6012 class 3;
 3> Min copper of 70um on outer layers and min 55.7um on inner layers;
 4> Min Annular ring to be 0.001in with no breakout;
 5> Soldermask not required between pads with less than 0.012in clearance;
 6> Stack: PP: 7628+1080 (per IPC-4412A) // Core: 4x 7628 (HFR-4 28 per IPC-4121/2) // PP: 7628+1080 (per IPC-4412A);
 7> Array size 137.49mm x 243.967, Circuit size 137.49mm x 121.234mm;
 8> Standard PCB: Copper THK after processing according to IPC 6012 Class 3; track width/spacing tolerance of +/-20%; centerline hole to centerline
 pad of +/-0.003; offset between copper layers of +/-0.004; offset between copper and mask of +/-0.004 (per LVP046 rev 05I);
 9> Solder mask: meet UL 94V-0 (per LVP046 rev 05I);
 10> Solder mask THK (for H to 2 oz base copper) - THK on track of 10 to 40 um, min THK on track corner of 6 um & min THK on bare laminate of 10
 um (per LVP046 rev 05I);
 11> Circuit bow and twist per IPC-6012 section 3.4.3: Keeping the core and prepreg in the same grain direction is crucial to ensure the flatness of
 multilayer boards. Board fabricator shall build multilayer boards with the grain direction for all cores and prepregs used in the same direction (per spec
 LVP046 rev 05I);
 12> Bow & twist (Class A): 0.5% max for multilayer with diagonal lengths of >200mm (individual PCB or panel), only a max warpage of 1.0mm, related to
 the overall length of the delivery PCB (per LVP046 rev 05I);
 13> Dimensional tolerance : +/-0.10 mm (+/-0.004") for dimensions 200 mm (per LVP046 rev 05I);
 14> NPTH dia tolerance: +/-0.05 mm (0.002"); PTH dia tolerance: +/-0.075 mm (0.003"); hole location tolerance: +/-0.075 mm (0.003") (per LVP046
 rev 05I);
 15> PTH copper plating: 25 to 50 um (0.001 to 0.002") (per LVP046 rev 05I);
 16> 100% AOI for inner and outer layers is required (per LVP046 rev 05I);
 17> Solder mask repair allowed to max of 5 defects/cm square, but it is NOT allowed to repair open tracks of copper (per LVP046 rev 05I);
 18> Defective boards on the panel (array): NOT allowed (per LVP046 rev 05I);
 19> Ionic contamination: 20> Base PCB Materials: see LVP047 (per LVP046 rev 05I);
 21> For Multilayer PCB’s (per spec LVP047 level 07I);
 - Prepregs must have multiple fabric glass layers, single layer is not allowed;
 - Core with single ply are not allowed, must have more than 1 ply;
 22> High Grade FR-4: Td min of 330°C, CTI Grade 3 (175v to 249v) (per spec LVP047 level 07I);
 23> CAF resistance certification (IPC-TM-650 2.6.25) for (High Grade FR4) (per spec LVP047 level 07I);
 24> Supplier is not authorized to begin production or ship material prior to obtaining approval per the requirements of PPAP Manual. All PPAP sample
 submissions are to be Level 3 unless otherwise specified (per Global Supplier Quality Requirements Manual);
 25> All changes to product, process and production location require advance written approval. PPAP approval is required. (per Global Supplier Quality
 Requirements Manual);
 26> Supplier packaging, either expendable or returnable, must comply with the standards described in Supplier Packaging Requirements & Guidelines;
 27> A completed Supplier Packaging SUPPLIER PACKAGING DATA FORM (Form 2100 ), File: 6FUX25-000_E01526706.xls for shall be submitted
 for customer approval during PPAP. (per Supplier Packaging Requirements & Guidelines);
 28> Date identifiers have to follow the rules defined in ANSI MH10.8.2-2010. Same orders than appears (per customer requirement);
 29> Minimum module width of barcode 0.3 mm (can be adapt) (per customer requirement);
 30> Permanent glue, label not removable from unique package/reel, no paper labels (per customer requirement);

                                                                                                                                                         Page 3 of 6
    Case 0:21-cv-60125-RNS Document 186-3 Entered on FLSD Docket 06/26/2023 Page 6 of 17



Circuitronix, LLC                                                                    Entry number                           Date             Supplier
3131 SW 42nd Street                                                                  201846-MR6031US                        11/15/2018       JIANG001
Fort Lauderdale, FL 33312
                                                                                    Reference
Phone:      7863644458
                                                                                    X57
Fax:        3053779008



Supplier:                                                                                 Ship To CTX Address:

 Jiangmen Benlida Printed Circuit Company Limited                                          Circuitronix, LLC
 No. 76 Long Xi Road High-tech Industrial Park                                             C/O DHL Global Forwarding (Hong Kong) Limited
 Jiangmen, Guangdong, China                                                                8/F Block 1, Goodman Tuen Mun Distribution Centre,
  Hong Kong                                                                                3A Hung Cheung Road, Tuen Mun, NT
                                                                                            Hong Kong




 Supplier PN

 31> 20s and 20t information must be included in ASN fields and generated based on guidelines. This lot and serial number must be unique (per
 customer requirement);
 32> Follow Suppliers label Electronics Introduction.pptx for unique identification of each packaging (reel or tray) (per customer requirement);
 33> PCB should have cavity number in each production panel (per customer requirement)
 34> Cavity number should be on top of the date code or near to the date code or in the UL logo (per customer requirement)
 35> ET mark will follow a line mark at the edge of the board. No stickers or stamp are allowed inside the circuit (per customer requirement);
 36> Follow stack-up of previous board (per EQ reply);
 37> Please control slot to 0.046” +/-0.003” X 0.098” +/-0.004” (per EQ reply);

 ** Please use CTX UL logo.




                                                                                                                                                        Page 4 of 6
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Circuitronix, LLC                                                                   Entry number                          Date             Supplier
3131 SW 42nd Street                                                                 201846-MR6031US                       11/15/2018       JIANG001
Fort Lauderdale, FL 33312
                                                                                   Reference
Phone:      7863644458
                                                                                   X57
Fax:        3053779008



Supplier:                                                                                Ship To CTX Address:

 Jiangmen Benlida Printed Circuit Company Limited                                         Circuitronix, LLC
 No. 76 Long Xi Road High-tech Industrial Park                                            C/O DHL Global Forwarding (Hong Kong) Limited
 Jiangmen, Guangdong, China                                                               8/F Block 1, Goodman Tuen Mun Distribution Centre,
  Hong Kong                                                                               3A Hung Cheung Road, Tuen Mun, NT
                                                                                           Hong Kong




 Supplier PN

 E09440604 Rev AF
 P/N: E09440604 Rev AF (File: LEAR_E09440604AF_pcbGerbers.zip ) [05-05-2017]
 High Grade FR4 per IPC4101/124, UL 94V-0 or better, Tg150 or better; 1.65mm+/- 10% (per EQ reply) Board THK; 2/2/2/2 OZ (Minimum Finish); 4L;
 5.413 in X9.605 in(2); 20in X24in(8); 0.010in/0.0057in (Line/space); 0.013in (Hole); SMOBC(LPI, IPC-SM-840 Class H, Flat Matte, Green, Assumed
 Halogen-free); 2SS (White); Imm Silver (IPC-4553)
 Notes:
 1> Rout Length:37/Panel; Hole:2950/panel; Vcut 0 /panel;
 2> IPC-6011 and IPC-6012 Class 3;
 3> Inner layers: 2oz or 55.7um min finished. Outer layers: 70um min finished;
 4> Annular ring of conductive material on each PH to be a min of 0.001" with no break-out;
 5> PCB must comply with current legal (ELV and other applicable laws regarding material content), customer material requirements;
 6> Stack-up: PP 7628 (RC46) +1080 (RC67)// Core 4x7628// PP 1080 (RC67) + 7628 (RC46);
 7> PCB shall meet IPC-A-600 Class 3 (per LVP046 rev 05I);
 8> Standard PCB: Copper THK after processing according to IPC 6012 Class 3; track width/spacing tolerance of +/-20%; centerline hole to centerline
 pad of +/-0.003; offset between copper layers of +/-0.004; offset between copper and mask of +/-0.004 (per LVP046 rev 05I);
 9> Solder mask THK (for H to 2 oz base copper) - THK on track of 10 to 40 um, min THK on track corner of 6 um & min THK on bare laminate of 10
 um (per LVP046 rev 05I);
 10> Bow & twist (Class B): 0.75% max (per LVP046 rev 05I);
 11> Dimensional tolerance : +/-0.10 mm (+/-0.004") for dimensions 200 mm (per LVP046 rev 05I);
 12> NPTH dia tolerance: +/-0.05 mm (0.002"); PTH dia tolerance: +/-0.075 mm (0.003"); press-fit hole dia tolerance (IF ANY): +/-0.05 mm (0.002");
 hole location tolerance: +/-0.075 mm (0.003") (per LVP046 rev 05I);
 13> PTH copper plating: 25 to 50 um (0.001 to 0.002") (per LVP046 rev 05I);
 14> 100% AOI for inner and outer layers is required (per LVP046 rev 05I);
 15> Solder mask repair allowed to max of 5 defects/cm square, but it is NOT allowed to repair open tracks of copper (per LVP046 rev 05I);
 16> Defective boards on the panel (array): NOT allowed (per LVP046 rev 05I);
 17> Ionic contamination: 18> For Multilayer PCB’s (per spec LVP047 level 07I);
 - Prepregs must have multiple fabric glass layers, single layer is not allowed;
 - Core with single ply are not allowed, must have more than 1 ply;
 19> High Grade FR-4: Td min of 330°C, UL 94V-0 rating, CTI Grade 3 (175v to 249v), other requirements per IPC 4101/121 (per spec LVP047 level
 07I);
 20> CAF resistance certification (IPC-TM-650 2.6.25) for (Standard FR4 or High Grade FR4 or FR406 4101/26) (per spec LVP047 level 07I);
 21> Supplier is not authorized to begin production or ship material prior to obtaining approval per the requirements of PPAP Manual. All PPAP sample
 submissions are to be Level 3 unless otherwise specified (per Global Supplier Quality Requirements Manual);
 22> All changes to product, process and production location require advance written approval. PPAP approval is required. (per Global Supplier Quality
 Requirements Manual);
 23> Supplier packaging, either expendable or returnable, must comply with the standards described in Supplier Packaging Requirements & Guidelines;
 24> A completed Supplier Packaging SUPPLIER PACKAGING DATA FORM (Form 2100 ), File: 6FUX25-000_E01526706.xls for shall be submitted
 for customer approval during PPAP. (per Supplier Packaging Requirements & Guidelines);
 25> Date identifiers have to follow the rules defined in ANSI MH10.8.2-2010. Same orders than appears (per customer requirement);
 26> Minimum module width of barcode 0.3 mm (can be adapt) (per customer requirement);
 27> Permanent glue, label not removable from unique package/reel, no paper labels (per customer requirement);
 28> 20s and 20t information must be included in ASN fields and generated based on guidelines. This lot and serial number must be unique (per
 customer requirement);
 29> Follow Suppliers label Electronics Introduction.pptx for unique identification of each packaging (reel or tray) (per customer requirement);
 30> PCB should have cavity number in each production panel (per customer requirement)
 31> Cavity number should be on top of the date code or near to the date code or in the UL logo (per customer requirement)

                                                                                                                                                         Page 5 of 6
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Circuitronix, LLC                                                                      Entry number                           Date               Supplier
3131 SW 42nd Street                                                                    201846-MR6031US                        11/15/2018         JIANG001
Fort Lauderdale, FL 33312
                                                                                     Reference
Phone:      7863644458
                                                                                     X57
Fax:        3053779008



Supplier:                                                                                  Ship To CTX Address:

 Jiangmen Benlida Printed Circuit Company Limited                                            Circuitronix, LLC
 No. 76 Long Xi Road High-tech Industrial Park                                               C/O DHL Global Forwarding (Hong Kong) Limited
 Jiangmen, Guangdong, China                                                                  8/F Block 1, Goodman Tuen Mun Distribution Centre,
  Hong Kong                                                                                  3A Hung Cheung Road, Tuen Mun, NT
                                                                                              Hong Kong




 Supplier PN

 32> ET mark will follow a line mark at the edge of the board. No stickers or stamp are allowed inside the circuit (per customer requirement);
 33> Pth slot tolerance 0.046in +0/-0.003in x 0.098in +/-0.004in (per EQ reply);
 ** Please use CTX UL logo on these boards




                                                                                                                                                            Page 6 of 6
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Circuitronix (Hong Kong) Limited
5/F, Continental Electric Building                                  Entry number                       Date           Supplier
17 Wang Chiu Road
                                                                    A01-4501906715                     9/1/2017       ROKPR001
KOWLOON BAY,
                                                                    Reference
Phone:      64618609
Fax:        23421299                                                X70




Supplier:                                                                 Ship To CTX Address:

  Rok Printed Circuit Board Co. Ltd                                        Circuitronix (Hong Kong) Limited
  No. 21 Workingshop Dongdan Industry Park                                 5/F, Continental Electric Building
  High-tech Industry Zone                                                  17 Wang Chiu Road
  Guangdong Province                                                       KOWLOON
  Hong Kong                                                                Hong Kong




                                                 CoC         PPAP           Receipt date        Ordered           Net price            Tax
 Supplier PN
                                                                                                quantity                            excluded
                                                                                                                                     amount
 1055449+5                                       Yes         None               9/23/2017            6,774 PC        1.99000          13,480.26




 Shipment mode
                                                                           Tax excluded line total                               13 480.26 USD
 Payment term               60 Day After Monthly Statement                 TOTAL TAX                                                  0.00 USD
                                                                           TOTAL TAX INC                                         13 480.26 USD
 Incoterm

 Incoterm Town




                                                                                                                                 Page 1 of 1
   Case 0:21-cv-60125-RNS Document 186-3 Entered on FLSD Docket 06/26/2023 Page 10 of
                                         17


Circuitronix (Hong Kong) Limited                                                     Entry number                          Date              Supplier
5/F, Continental Electric Building                                                   A01-4501906715                        9/1/2017          ROKPR001
17 Wang Chiu Road
KOWLOON BAY,                                                                        Reference

                                                                                    X70
Phone:      64618609
Fax:        23421299


Supplier:                                                                                 Ship To CTX Address:

 Rok Printed Circuit Board Co. Ltd                                                         Circuitronix (Hong Kong) Limited
 No. 21 Workingshop Dongdan Industry Park                                                  5/F, Continental Electric Building
 High-tech Industry Zone                                                                   17 Wang Chiu Road
 Guangdong Province                                                                        KOWLOON
 Hong Kong                                                                                 Hong Kong




 Supplier PN

 1055449+5
 P/N: XX-XXXXXXX+5 Rev A (File: PSD XX-XXXXXXX+5 000 00.zip, RFQ-5216-Circuitronix(rev.5).xlsx ) [10-28-2013]
 FR4 Per IPC-4101, UL94 V-0 , Min Tg:170 , Min Td 340Deg; 0.062±0.006 Board THK; 1/1 OZ (Min Finish); 2L; 7.838X11.015(2); 18X24(4);
 0.010/0.010 (Line/space); 0.018 (Hole); SMOBC (Blue, LPI, IPC-SM-840, current revision class T); 1SS (White); Immersion Silver (Per IPC 4553)
 Notes:
 1> Rout Length:68/Panel; Hole:778/panel; Vcut 0 /panel;
 2> RoHS compliant, compatible with Lead free assembly;
 3> IPC-6012 Class 2, IPC-A-600 Class 2;
 4> Hole location tolerance: 0.008 diameter of true position;
 5> Layer to layer registration: within 0.005;
 6> Annular ring: external supported holes (0.001 min), internal supported holes (tangency min), unsupported holes (tangency min);
 7> Conductors will not exceed a reduction in width or spacing by more than 20% or 0.002 whichever min value is less;
 8> Max bow and twist: 0.7%;
 9> X-outs in an array are not acceptable, unless specifically noted as allowed. (per spec 101510 rev F);
 10> Ionic contamination: <0.5 µg/cm2 (<3.23 µg/in2) NaCl equivalent (test per IPC-TM-650 2.3.25.5 or IPC-5704). (per spec 101510 rev F);
 11> No repair of circuit defects or to damaged laminate without prior written approval. (per spec 101510 rev F);
 12> Packaging: All PCBs to be treated as Moisture Sensitivity Level (MSL) 3. Each package shall have desiccant and HIC with 3 color spots of
 sensitivity values 5% RH, 10% RH and 60% RH. Anti-tarnish paper must be placed between HIC and board surface. Additionally for Imm Ag and Imm
 Sn finish boards, each package shall have at least one sheet of anti-tarnish paper protecting each board surface and around the stack of boards. (per
 spec 101510 rev F);
 13> Additional packing requirements: (per spec 101510)
 - pack in shrink-wrap, max weight of 12.5 kg (28 lbs), max height of 15.2 cm (6 in);
 - solid piece of material on top and bottom of the stack;
 - each package to be airtight to prevent moisture;
 - each package to be marked with quantity, date code, part number and PO number;
 - pack in boxes using only bubble-pack as filler (no particulate generating material such as styrofoam, cardboard, shreded or crumpled paper are
 allowed);
 - outside surface of the box to include lot number, date code, job run number or other identification;
 14> Follow the requirements found on Shipment Labeling Standard.pdf. (per customer requirement);
 15> Attach C of C with the shipment every time. (per customer requirement);
 16> Compliant to IPC-6012 Class 2 & IPC-A-600 Class 2 except for A/B coupons (per customer requirement);
 17> PPAP required (customer requirement);



 CTX UL LOGO MUST BE USED ON ALL BOARDS.




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                                      17
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Circuitronix, LLC
3131 SW 42nd Street                                                 Entry number                      Date            Supplier
Fort Lauderdale, FL 33312
                                                                    A01-4501854344                    6/15/2017       ROKPR001
Phone:      7863644458
                                                                    Reference
Fax:        3053779008
                                                                    X70




Supplier:                                                                 Ship To CTX Address:

 Rok Printed Circuit Board Co. Ltd                                         Circuitronix, LLC
 No. 21 Workingshop Dongdan Industry Park                                  5/F, Continental Electric Building
 High-tech Industry Zone                                                   17 Wang Chiu Road
 Guangdong Province                                                        KOWLOON BAY
 Hong Kong                                                                 Hong Kong




                                                 CoC         PPAP           Receipt date        Ordered           Net price            Tax
 Supplier PN
                                                                                                quantity                            excluded
                                                                                                                                     amount
 23565146+B2                                     Yes         None               7/8/2017             852 PC          0.73000             621.96




 Shipment mode
                                                                          Tax excluded line total                                  621.96 USD
 Payment term               60 Day After Monthly Statement                 TOTAL TAX                                                 0.00
                                                                           TOTAL TAX INC                                           621.96 USD
 Incoterm

 Incoterm Town




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Circuitronix, LLC                                                                     Entry number                          Date             Supplier
3131 SW 42nd Street                                                                   A01-4501854344                        6/15/2017        ROKPR001
Fort Lauderdale, FL 33312
                                                                                    Reference
Phone:      7863644458
                                                                                    X70
Fax:        3053779008



Supplier:                                                                                 Ship To CTX Address:

 Rok Printed Circuit Board Co. Ltd                                                          Circuitronix, LLC
 No. 21 Workingshop Dongdan Industry Park                                                   5/F, Continental Electric Building
 High-tech Industry Zone                                                                    17 Wang Chiu Road
 Guangdong Province                                                                         KOWLOON BAY
 Hong Kong                                                                                  Hong Kong




 Supplier PN

 23565146+B2
 P/N: 23565146+B2 Rev A (File: PSD 17-23565146+B2 000 00.zip ) [06-18-2015]
 High Temp FR4 (IPC-410A/24/26/29/99), UL 94V-0, Tg>170 Min, Td>340, CTE-Z<3.5% T260 & T288>60mins; 0.062 +/-0.006 Board THK; 1/1/1/1
 OZ (Finish); 4L; 7.132X4.461(3); 20X24(12); 0.010/0.007 (Line/space); 0.013 (Hole); SMOBC (LPI, Green, IPC-SM-840 Class 2); 2SS (White); ENIG
 (Au: 2-8u", Nickel: 150-250u")
 Notes:
 1> Rout Length:60/Panel; Hole:649/panel; Vcut 0 /panel;
 2> Fabricate and test per ANSI IPC-A-600 Class 2, IPC-6011 & IPC-6012 Class 2, IPC-2221 and IPC-2222 Class B, Rework Per IPC-7711and
 IPC-7721;
 3> RoHS compliant and Lead Free;
 4> Trace width tolerance: <20%;
 5> 0.033" PTH tolerance: +0.002"/-0;
 6> Stack up: 1oz copper// PP 0.008"/ Core 0.040" +1/1oz copper// PP 0.008"// 1oz copper;
 7> Maximum bow and twist : 0.7% as measured per IPC-TM-650, Method 2.4.22;
 8> Solder mask: SMOBC, matte or semi-matte, Solder mask thickness: 0.0004 min thick and 0.002 max thick (per spec 101510 rev G);
 9> Solderability: unless specified on fabrication drawing, shall meet the requirements of J-STD-003 class 2 and paragraph 1.5.1 test C. Coating
 durability shall comply to J-STD-003 paragraph 1.8 category 2 (per spec 101510 rev G);
 10> Fiducials shall be round within +/-0.05mm (0.002) and shall have a diameter tolerance of +/-10%; (per spec 101510 rev G);
 11> Add copper rings around array fiducials on the rails as long as required clearances are maintained (per spec 101510 rev G);
 12> X-outs in an array are not acceptable, unless specifically noted as allowed (per spec 101510 rev G);
 13> If coupons are required they shall be designed to IPC 2221 criteria, if not required, analyze 2 cross sections of a PCB or Thermal Stress coupon in
 both X & Y Axis per lot. (per spec 101510 rev G);
 14> Perform solderability testing on both Plated Through Hole & Surface ( Minimum 5 per Lot). (per spec 101510 rev G);
 15> Ionic contamination: <0.5 µg/cm2 (<3.23 µg/in2) NaCl equivalent (test per IPC-TM-650 2.3.25.5 or IPC-5704). (per spec 101510 rev G);
 16> No repair of circuit defects or to damaged laminate without prior written approval. (per spec 101510 rev G);
 17> Packaging: All PCBs to be treated as Moisture Sensitivity Level (MSL) 3. Each package shall have desiccant and HIC with 3 color spots of
 sensitivity values 5% RH, 10% RH and 60% RH. OK to use HIC with 10% to 60% RH color spots (per EQ reply). Anti-tarnish paper must be placed
 between the humidity indicator and board surface (per spec 101510 rev G);
 18> CoC is required for each deliver to include the total quantity of pieces and number of panels in the lot (per spec 101510 rev G);
 19> Additional packing requirements: (per spec 101510 rev G);
 - pack in shrink-wrap, max weight of 12.5 kg (28 lbs), max height of 15.2 cm (6 in);
 - solid piece of material on top and bottom of the stack;
 - each package to be heat sealed in an airtight bag to prevent moisture;
 - each package to be marked with quantity, date code, part number and PO number;
 - pack in boxes using only bubble-pack as filler (no particulate generating material such as styrofoam, cardboard, shreded or crumpled paper are
 allowed);
 - outside of the box must include a label with the part number, lot number, date code, job run number and other Supplier information to ensure
 traceability to date of manufacture and associated data, ie. test results.
 20> Follow the requirements found on Shipment Labeling Standard.pdf. (per customer requirement);
 21> Compliant to IPC-6012 Class 2 & IPC-A-600 Class 2 except for A/B coupons (per spec);

 CTX UL LOGO MUST BE USED ON ALL BOARDS.




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Circuitronix, LLC
3131 SW 42nd Street                                                 Entry number                        Date            Supplier
Fort Lauderdale, FL 33312
                                                                    A16-5500014404                      10/5/2017       JIANG001
Phone:      7863644458
                                                                    Reference
Fax:        3053779008
                                                                    X70




Supplier:                                                                 Ship To CTX Address:

 Jiangmen Benlida Printed Circuit Company Limited                          Circuitronix, LLC
 No. 76 Long Xi Road High-tech Industrial Park                             5/F, Continental Electric Building
 Jiangmen, Guangdong, China                                                17 Wang Chiu Road
  Hong Kong                                                                KOWLOON BAY
                                                                           Hong Kong




                                                 CoC         PPAP           Receipt date        Ordered             Net price            Tax
 Supplier PN
                                                                                                quantity                              excluded
                                                                                                                                       amount
 D-8794705TGP01+A                                Yes         None               11/1/2017           80,000 PC          0.92000          73,600.00




 Shipment mode
                                                                          Tax excluded line total                                  73 600.00 USD
 Payment term               60 Day After Monthly Statement                 TOTAL TAX                                                    0.00
                                                                           TOTAL TAX INC                                           73 600.00 USD
 Incoterm

 Incoterm Town




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Circuitronix, LLC                                                                     Entry number                          Date             Supplier
3131 SW 42nd Street                                                                   A16-5500014404                        10/5/2017        JIANG001
Fort Lauderdale, FL 33312
                                                                                    Reference
Phone:      7863644458
                                                                                    X70
Fax:        3053779008



Supplier:                                                                                 Ship To CTX Address:

 Jiangmen Benlida Printed Circuit Company Limited                                           Circuitronix, LLC
 No. 76 Long Xi Road High-tech Industrial Park                                              5/F, Continental Electric Building
 Jiangmen, Guangdong, China                                                                 17 Wang Chiu Road
  Hong Kong                                                                                 KOWLOON BAY
                                                                                            Hong Kong




 Supplier PN

 D-8794705TGP01+A
 P/N: D-8794705TGP01 (per email) / 17-8794705TGP01+A Rev A (File: PSD 17-D-8794705TGP01+A 000 00.zip ) [06-02-2014]
 FR4, Tg>140C, UL 94V-0 min, MOT of 125C; 0.062±10% Board THK; 1/1 OZ (Base); 2L; 5.4X8.972(2); 20X24(8); 0.012/0.007 (Line/space); 0.015
 (Hole); SMOBC (LPI, Blue, IPC-SM-840 class T, 0.0005-0.002 thk); 1SS (White); LF HASL
 Notes:
 1> Rout Length:62/Panel; Hole:590/panel; Vcut 0 /panel;
 2> Max bow & twist shall be 0.7%;
 3> Hole location tolerance Ø0.008;
 4> RoHS per 24A105187;
 5> IPC-A-600 class 2;
 6> Cleanliness shall be tested with IPC-6012 class 2 paragraph 3.9 with a limit of 10ug/sqin;
 7> Fuse trace (intentional weak link) must be ±20% in width and deviation from this is not acceptable;
 8> Finish copper thickness (2oz) 0.0024±0.0005;
 9> Preserving solderability for a min of 6 months at 21 deg C and 70%RH (per spec 101510 rev G);
 10> Solderability: unless specified on fabrication drawing, shall meet the requirements of J-STD-003 class 2 and paragraph 1.5.1 test C. Coating
 durability shall comply to J-STD-003 paragraph 1.8 category 2 (per spec 101510 rev G);
 11> Fiducials shall be round within +/-0.05mm (0.002) and shall have a diameter tolerance of +/-10%; (per spec 101510 rev G);
 12> Add copper rings around array fiducials on the rails as long as required clearances are maintained (per spec 101510 rev G);
 13> X-outs in an array are not acceptable, unless specifically noted as allowed (per spec 101510 rev G);
 14> If coupons are required they shall be designed to IPC 2221 criteria, if not required, analyze 2 cross sections of a PCB or Thermal Stress coupon in
 both X & Y Axis per lot (per spec 101510 rev G);
 15> Perform solderability testing on both Plated Through Hole & Surface ( Minimum 5 per Lot) (per spec 101510 rev G);
 16> No repair of circuit defects or to damaged laminate without prior written approval (per spec 101510 rev G);
 17> Packaging: All PCBs to be treated as Moisture Sensitivity Level (MSL) 3. Each package shall have desiccant and HIC with 3 color spots of
 sensitivity values 5% RH, 10% RH and 60% RH. OK to use HIC with 10% to 60% RH color spots (per EQ reply). Anti-tarnish paper must be placed
 between HIC and board surface. Anti-tarnish paper must be placed between the humidity indicator and board surface (per spec 101510 rev G);
 18> CoC is required for each deliver to include the total quantity of pieces and number of panels in the lot (per spec 101510 rev G);
 19> Additional packing requirements: (per spec 101510 rev G);
 - pack in shrink-wrap, max weight of 12.5 kg (28 lbs), max height of 15.2 cm (6 in);
 - solid piece of material on top and bottom of the stack;
 - each package to be heat sealed in an airtight bag to prevent moisture;
 - each package to be marked with quantity, date code, part number and PO number;
 - pack in boxes using only bubble-pack as filler (no particulate generating material such as styrofoam, cardboard, shredded or crumpled paper are
 allowed);
 - outside of the box must include a label with the part number, lot number, date code, job run number and other Supplier information to ensure
 traceability to date of manufacture and associated data, i.e. test results.
 20> Follow the requirements found on Shipment Labeling Standard.pdf (per customer requirement)
 21> For all boards with fuse trace (IWL) at least 5 panel need to be measured on all fuse traces for both fuse trace width and fuse trace copper
 thickness in separate sheet (customer requirement);
 22> Include a separate section in the CoCs for measurements of the IWLs (customer requirement);

 CTX UL LOGO MUST BE USED ON ALL BOARDS.




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